                     Case 4:19-cr-00690-JAS-LCK Document 9 Filed 02/27/19 Page 1 of 1
AZD PS 40 (AZD Rev. 10/12) Notice Regarding United States Passport for Criminal Defendant



                                        UNITED STATES DISTRICT COURT
                                                                          for the
                                                               District of Arizona
            NOTICE REGARDING UNITED STATES PASSPORT FOR CRIMINAL DEFENDANT

 TO:       Office of Legal Affairs, Passport Services                      FROM:              United States Pretrial Services
                    U.S. Department of State                                                Evo A. DeConcini U.S. Courthouse
                          CA/PPT/L/LA                                                               405 W. Congress
                  44132 Mercure Circle #1227                                                           Suite 2600
                    Sterling, VA 20166-1227                                                   Tucson, Arizona 85701-5020
                                                                                                     (520) 205-4350

                          Notice of Surrender
 Date: February 27, 2019
 By: kml


 Defendant:         Alexander True Norman                                        Case Number:         0970 4:19-02949M
 Date of Birth: 1996                                                             Place of Birth:      Pittsburg, PA
 SSN: xxx-xx-9322

 Notice of Court Order (Order Date: February 25, 2019)

 ☒       The above-named defendant is not permitted to apply for the issuance of a passport and/or passport card
         during the pendency of this action.

 ☒       The above-named defendant surrendered Passport number xxxxx1340 to the custody of the U.S. Pretrial
         Services on February 26, 2019.
 NOTICE OF DISPOSITION
 The above case has been disposed of.
 ☐      The above order of the court is no longer in effect.
 ☐ Defendant not convicted – Document returned to defendant.

 ☐ Defendant not convicted – Document enclosed for further investigation due to evidence that
   the document may have been issued in a false name.
 ☐ Defendant convicted – Document and copy of judgment enclosed.

 Distribution:
 Original to case file
 Department of State
 Defendant (or representative)
 Clerk of Court
